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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  SECURITIES AND EXCHANGE
  COMMISSION,

              Plaintiff,

  v.                                      Case No. 8:20-cv-325-T-35AEP

  BRIAN DAVISON,
  BARRY M. RYBICKI,
  EQUIALT LLC,
  EQUIALT FUND, LLC
  EQUIALT FUND II, LLC,
  EQUIALT FUND III, LLC,
  EA SIP, LLC,

              Defendants,
  and

  128 E. DAVIS BLVD., LLC;
  et al.,

             Relief Defendants.
  ____________________________________/

        RECEIVER’S SIXTH QUARTERLY FEE APPLICATION FOR
       ORDER AWARDING FEES, COSTS, AND REIMBURSEMENT OF
           COSTS TO RECEIVER AND HIS PROFESSIONALS

         Burton W. Wiand, the Court-appointed Receiver over the corporate

  Defendants and all Relief Defendants (the “Receiver” and the “Receivership”

  or “Receivership Estate”) pursuant to the Court’s Order dated February 14,
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  2020 (Doc. 11) (the “Order Appointing Receiver”), 1 respectfully submits this

  Sixth Quarterly Fee Application to the Court for the entry of an order

  awarding fees and the reimbursement of costs to the Receiver and his

  professionals. This Application covers all fees and costs incurred from April 1,

  2021 through June 30, 2021. A Standardized Accounting Report (the

  “Accounting Report”) from April 1, 2021 through June 30, 2021 is attached as

  Exhibit 1. 2

        Since the appointment of the Receiver, he and those he has retained to

  assist him have engaged in substantial and continuing efforts for the benefit

  of the Receivership. During the time covered by this Application, among other

  things, the Receiver and his professionals have done the following:

        • Continued extensive efforts with the SEC and counsel for Brian
          Davison to resolve the disgorgement amount and settlement of
          Receiver’s claims against Davison resulting in the SEC’s May 19,
          2021 Motion to Stay the Case for 90 Days to allow the SEC
          Commissioners to consider the proposed settlement with Davison
          (Doc. 318 – Court’s Order granting SEC’s motion);




  1  The “Receiver” and the “Receivership” or “Receivership Estate” has been expanded to
  include not only the Corporate and Relief Defendants but also the following entities:
  EquiAlt Qualified Opportunity Zone Fund, LP; EquiAlt QOZ Fund GP, LLC; EquiAlt
  Secured Income Portfolio REIT, Inc.; EquiAlt Holdings LLC; EquiAlt Property Management
  LLC; and EquiAlt Capital Advisors, LLC (Doc. 184, at 6-7) and EquiAlt Fund I, LLC (Doc
  284).

  2  The Securities and Exchange Commission (“SEC” or the “Commission”) provided the
  Receiver with detailed Billing Instructions for Receivers in Civil Actions Commenced by the
  Commission (the “Billing Instructions”). The Accounting Report is one of the requirements
  contained in the Billing Instructions.


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       • Worked with class action counsel in the Gleinn, et al. v. Wassgren, et
         al. case to prepare for August mediation in the lawsuits against the
         Law Firm defendants;

       • Received the Court’s Order denying Fox Rothschild’s motion to
         compel the Receiver to bring his claims against Fox in the Middle
         District of Florida rather than in California where the Receiver’s
         case is currently pending (Doc. 336);
       • Sought and obtained approval from the Court for the sale of the
         following properties, closed on the properties, and garnered the
         following gross proceeds:
             o 2 Bahama Circle, Tampa – $3,950,000
             o 3914 ½ North Ridge Avenue, Tampa – $820,000;

       • Sought and obtained the Court’s approval of the retention of
         Coldwell Banker to provide a valuation of the real estate holdings of
         the Receivership Entities (Doc. 299);

       • Obtained Court approval of a negotiated settlement with Putnam
         Leasing to gain full title to the 2018 Pagani Huayra (Doc. 309);

       • Obtained Court approval for the sale of the 2018 Pagani Huayra to
         Miller Motorcars for $2,300,000 (Doc. 339);

       • Obtained Court approval for the closing of Davison’s Bank of
         America safe deposit box (Doc. 308);

       • Sought the Court’s approval of clawback claims against EquiAlt
         investors who received false profits in the amount of $1,308,446.06
         (Doc. 312);

       • Obtained the Court’s approval of settlement of the Receiver’s claims
         against sales agent Edgar Lozano and GIA (Doc. 346);

       • Sought and obtained the Court’s approval of the Receiver’s proposed
         claims process, including the retention of Omni Agent Solutions to
         assist in the administration of the claims process (Doc. 347);




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       • Sought and obtained the Court’s approval of the Receiver’s proposal
         to market and sell 30 parcels of real property via online auction
         (Doc. 349);

       • Continued to prosecute clawback claims against investors who
         received false profits and sales agents who received commissions;

       • Obtained an Order in state court against Volcan 4X4 and Charles
         Guy for $20,000, with attorney’s fees still to be determined;

       • Solicited proposals from international auction houses for the sale of
         Davison’s watch collection;

       • Engaged in extensive efforts to market additional real estate
         properties and develop plans for marketing properties in an efficient
         cost-effective manner;

       • Continued to renovate the Jasmine Way property in Clearwater;

       • Continued working with partners on the operations of Commerce
         Brewing and related entities;

       • Continued development plans for St. Petersburg commercial land;
         and

       • Continued work to streamline Receivership administration and
         management of EquiAlt operations, including maintenance and
         leasing of over 300 real estate properties and finalizing a motion to
         consolidate assets and liabilities of Receivership Entities, which was
         granted on July 20, 2021 (Doc. 351).
  The above activities are discussed in more detail in the Receiver’s Sixth

  Quarterly Status Report which was filed on July 30, 2021 (Doc. 352) (the

  “Quarterly   Status   Report”).   The   Quarterly   Status   Report   contains

  comprehensive and detailed information regarding the case background and

  status; the recovery of assets; financial information about Receivership



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  Entities; the Receiver’s proposed course of action regarding assets in the

  Receivership Estate; the potential establishment of a claims process; and

  related (or contemplated) litigation involving Receivership Entities. The

  Quarterly Status Report addresses all activity that resulted in the fees and

  costs sought in this motion and is incorporated herein.

                               Case Background

        As of the date of filing this Application, the Court has appointed Burton

  W. Wiand as Receiver over the assets of the following entities:

        a)    Defendants EquiAlt LLC; EquiAlt Fund, LLC; EquiAlt Fund II,
              LLC; EquiAlt Fund III, LLC; and EA SIP, LLC;

        b)    Relief Defendants 128 E. Davis Blvd, LLC; 310 78th Ave,
              LLC; 551 3D Ave S, LLC; 604 West Azeele, LLC; 2101 W.
              Cypress, LLC; 2112 W. Kennedy Blvd, LLC; 5123 E. Broadway
              Ave, LLC; Blue Waters TI, LLC; BNAZ, LLC; BR Support
              Services, LLC; Bungalows TI, LLC; Capri Haven, LLC; EA NY,
              LLC; EquiAlt 519 3rd Ave S., LLC; McDonald Revocable Living
              Trust; Silver Sands TI, LLC; TB Oldest House Est. 1842, LLC;

        c)    EquiAlt Qualified Opportunity Zone Fund, EquiAlt QOZ Fund
              GP, LLC, EquiAlt Secured Income Portfolio REIT, Inc., EquiAlt
              Holdings LLC, EquiAlt Property Management LLC, and EquiAlt
              Capital Advisors, LLC (“REIT and QOZ Entities”); and

        d)    EquiAlt Fund I LLC.

  See Docs. 11, 184, and 284. The foregoing entities are collectively referred to

  as the “Receivership Entities.” On February 11, 2020, the Securities and

  Exchange Commission (“SEC”) filed a complaint (Doc. 1) against the

  Defendants and Relief Defendants. The complaint charges the Defendants



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  with violations of the federal securities laws and regulations in connection

  with a real estate Ponzi scheme. The SEC alleges that from January 2010 to

  November 2019, EquiAlt raised more than $170 million from approximately

  1100 investors to invest in three separate real estate funds. The SEC alleges

  that EquiAlt misrepresented the use of the proceeds of the investments and

  that Defendants Davison and Rybicki, who controlled the operations of the

  corporate Defendants, misappropriated monies from EquiAlt to the detriment

  of the investors. As directed by the Court (see Doc. 11 ¶ 2) and discussed in

  the earlier Quarterly Status Reports, the Receiver is conducting an

  independent investigation of the Receivership Entities and their operations.

  There is abundant evidence that supports the allegations that the

  Defendants were operating a fraudulent investment scheme.

           Professional Services Rendered and Costs Incurred

       The Order Appointing Receiver authorizes the Receiver to “solicit

  persons and entities (‘Retained Personnel’) to assist him in carrying out the

  duties and responsibilities described in this Order” and states that the

  “Receiver and Retained Personnel are entitled to reasonable compensation

  and expense reimbursement from the Receivership Estates,” subject to

  approval by the Court. See Doc. 11 ¶¶ 31, 32. The Order Appointing Receiver

  also requires that the Receiver obtain the Court’s authorization of the

  retention of any Retained Personnel. See Doc. 11 ¶ 31. Paragraph 6 of the


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  Order Appointing Receiver provides for the Receiver to engage persons “to

  assist the Receiver in carrying out the Receiver’s duties and responsibilities,

  including . . . accountants . . . .” To that end, the Receiver retained PDR CPAs

  (“PDR”) to assist with general accounting and tax services for the

  Receivership as well as provide accounting oversight for the operations of the

  Receivership entities. The Receiver filed an unopposed motion to approve the

  retention of PDR on April 9, 2020, which the Court granted on May 11, 2020

  (Doc. 85).

           The Order Appointing Receiver also specifically authorized the

  Receiver to retain (1) Wiand Guerra King P.A., now known as Guerra King

  P.A., (“GK”) to provide legal services; (2) Yip Associates (“Yip”) to provide

  forensic accounting services; (3) E-Hounds, Inc. (“E-Hounds”) to provide

  computer forensic services; (4) RWJ Group, LLC (“RWJ”) to provide asset

  management and investigative services; (5) Freeborn & Peters LLP

  (“Freeborn”) to provide legal services relating to information technology; (6)

  Baskin PLC (“Baskin”), 3 legal counsel in Arizona, to assist in the service of

  the Order Appointing Receiver and securing records and assets; and (7)

  Digital Acuity LLC (“Digital Acuity”), forensic investigators in Arizona, to

  assist in securing records. 4 See Doc. 11 ¶¶ 3, 16. 5 (Doc. 88). On March 10,

  3
      Baskin PLC was formerly Baskin Richards PLC.

  4   RWJ and Digital Acuity are no longer providing services to the Receivership.


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  2021, the Receiver filed a motion for leave to retain Johnson, Cassidy,

  Newlon & DeCort (“JCND”) as co-counsel (Doc. 278). 6 The Court granted this

  motion on March 26, 2021 (Doc. 282). On June 16, 2021, the Receiver filed a

  motion to initiate a claims process for this Receivership (Doc. 335). As part of

  that motion, the Receiver sought the Court’s approval of the retention of

  Omni Agent Solutions (“Omni”) as claims administrator to assist with the

  logistical aspects of the claims process. The Court granted this motion on

  July 8, 2021 (Doc. 347). All of the foregoing and PDR are collectively, the

  “Professionals.”




  5  On June 26, 2020, the Receiver filed a motion for leave to retain Johnson Pope Bokor
  Ruppel & Burns, LLP (“Johnson Pope”) on a contingency fee basis to investigate and pursue
  claims against law firms that provided services to EquiAlt, LLC or another Receivership
  Entity (Doc. 121), which the Court granted on July 1, 2020 (Doc. 127). In addition to
  agreeing to work on a contingency fee basis as outlined in the motion to retain Johnson
  Pope, the firm has also agreed to advance costs subject to reimbursement from any recovery
  with the exception of costs associated with E-Hounds and Yip Associates. Any costs
  incurred by Yip Associates and E-Hounds in connection with Johnson Pope’s investigation
  and any eventual litigation will be included in the invoices for these two professionals in
  the Receiver’s fee applications. As with any contingency fee arrangement, Johnson Pope is
  only entitled to payment if it procures a successful resolution of the Receiver’s potential
  claims.
  6
      Katherine Donlon, formerly of Guerra King, has been acting as lead counsel for the
  Receiver for this matter. Ms. Donlon left Guerra King and joined Johnson Cassidy, a
  litigation firm with extensive experience in federal court practice. Other professionals at
  Guerra King who have also been providing legal services to the Receiver for this matter
  have remained at Guerra King. Given Ms. Donlon’s knowledge regarding this matter, the
  Receiver determined that it is in the best interests of the Receivership and the defrauded
  investors that both Ms. Donlon and other professionals at her new firm and the
  professionals at Guerra King continue to provide legal services to the Receiver. The
  Receiver does not anticipate that there will be duplication of services provided by the two
  firms.



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        As described above and more fully in the Quarterly Status Report, the

  Professionals have provided services and incurred expenses to investigate the

  affairs of the Receivership Entities, preserve Receivership assets, attempt to

  locate and recover additional assets, and analyze investor information for the

  claims process and litigation. The Receivership is also selling certain assets

  and properties and preserving those proceeds for the benefit of the victim

  investors. While the Receiver and his professionals are investigating and

  locating and preserving assets for the benefit of defrauded investors, they are

  also continuing to operate the Receivership Entities. This case involves over

  1100 investors and over $170 million in investments. The Receiver is

  responsible for the active management of over 300 properties, the assessment

  of pending construction and maintenance projects, as well as supervising

  employees and property managers. The services provided by the Receiver and

  his professionals are for the benefit of aggrieved investors, creditors, and

  other interested parties.

  I.    The Receiver.

        The Receiver requests the Court award him fees for the professional

  services rendered from April 1, 2021 through June 30, 2021, in the amount of

  $68,436.00. The standard hourly rate the Receiver charges clients in private

  litigation is $500. However, the Receiver agreed, for purposes of his

  appointment as the Receiver, that his hourly rate would be reduced to $360,


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  representing nearly a thirty percent discount off the standard hourly rate

  which he charges clients in comparable matters. This rate was set forth in

  the Receiver’s submission to the SEC. See Doc. 6, Ex. 1.

         The Receiver commenced services immediately upon his appointment.

  The Receiver has billed his time for these activities in accordance with the

  Billing Instructions, which request that this motion contain a narrative of

  each “business enterprise or litigation matter” for which outside professionals

  have been employed. The Billing Instructions identify each such business

  enterprise or litigation matter as a separate “project.” Further, the Billing

  Instructions request that time billed for each project be allocated to one of

  several Activity Categories. 7 In addition to the work of the Receivership, the

  Receiver created two projects related to clawback litigation commenced on

  February 13, 2021.


  7  The Activity Categories set forth by the Commission in the Billing Instructions are as
  follows: (1) Asset Analysis and Recovery, which is defined as identification and review of
  potential assets including causes of action and non-litigation recoveries; (2) Asset
  Disposition, which is defined as sales, leases, abandonment and related transaction work
  (where extended series of sales or other disposition of assets is contemplated, the Billing
  Instructions provide that a separate category should be established for each major
  transaction); (3) Business Operations, which is defined as issues related to operation of an
  ongoing business; (4) Case Administration, which is defined as coordination and compliance
  activities, including preparation of reports to the court, investor inquiries, etc.; (5) Claims
  Administration and Objections, which is defined as expenses in formulating, gaining
  approval of and administering any claims procedure; and (6) Employee Benefits/Pensions,
  which is defined as review issues such as severance, retention, 401K coverage and
  continuance of pension plan. The Billing Instructions provide that time spent preparing
  motions for fees may not be charged to the Receivership Estate. In accordance with these
  instructions, the Receiver created an additional Activity Category for work on fees motions
  and has accounted for time spent on such work but has not charged any amount for that
  work.


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        A.    The Receivership.

        For the time covered by this motion, the work of the Receiver, GK, and

  JCND focused on investigating the fraud and related activities, locating and

  taking control of Receivership assets, investigating and pursuing additional

  assets for the Receivership, and analyzing investor information for the claims

  process and litigation. These activities of the Receiver are set forth in detail

  in the Quarterly Status Report. Doc. 352. A copy of the statement

  summarizing the Receiver’s services rendered for the Receivership is

  attached as Exhibit 2. The Receiver’s time and fees for services rendered for

  each Activity Category from April 1, 2021 through June 30, 2021, are as

  follows:

                               Receivership
              Receiver’s Time and Fees for Services Rendered

                                           Hours
                  Activity Category       Expended Fee Amount
                Asset Disposition             98.60 $35,496.00
                Asset Analysis and
                Recovery                      36.00     $12,960.00
                Business Operations           39.10     $14,076.00
                Case Administration            3.20      $1,152.00
                Claims Administration          6.40      $2,304.00
                TOTAL                        183.30     $65,988.00

        B.    Discrete Projects.

        In conjunction with the Receivership, the following two discrete

  projects have been formally commenced by the Receiver.



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              1.     Recovery of False Profits from Investors.

        This is a project involving the Receiver’s efforts to recover false profits

  from investors whose purported accounts received monies in an amount that

  exceeded their investments. (See also Doc. 352 at 28.) These purported profits

  were false because they were not based on any investment gain, but rather

  were fruits of a Ponzi scheme that consisted of funds of new and existing

  investors. The Receiver engaged in a pre-suit resolution process with

  investors who received such false profits. The pre-suit resolution process was

  fruitful. However, many investors did not take advantage of the opportunity

  afforded by this process. On February 13, 2021, the Receiver filed a clawback

  complaint against 124 EquiAlt investors who received $2,729,829 in false

  profits combined. A copy of the statement summarizing the Receiver’s

  services rendered for this project from April 1, 2021 through June 30, 2021 is

  attached as Exhibit 3. The Receiver’s time and fees for services rendered for

  each Activity Category are as follows:

                          Recovery from Investors
              Receiver’s Time and Fees for Services Rendered

                                             Hours        Fee
                     Activity Category      Expended     Amount
                   Asset Analysis and
                   Recovery                      4.80   $1,728.00
                   TOTAL                         4.80   $1,728.00




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              2.    Clawback Litigation Against Non-Investors.

        This is a project involving the Receiver’s clawback litigation against

  former principals and employees of EquiAlt and sales agents who received

  commissions for the sale of EquiAlt debentures. (See also Doc. 352 at 29.) On

  February 13, 2021, the Receiver filed a clawback complaint against 20 sales

  agents and their corresponding 17 corporate entities for the recovery of

  commissions paid for the sale of EquiAlt debentures in the total amount of

  $18,934,950. A copy of the statement summarizing the Receiver’s services

  rendered for this project from April 1, 2021 through June 30, 2021 is attached

  as Exhibit 4. The Receiver’s time and fees for services rendered for each

  Activity Category are as follows:

                Clawback Litigation Against Non-Investors
              Receiver’s Time and Fees for Services Rendered

                                         Hours
                 Activity Category      Expended     Fee Amount
               Asset Analysis and
               Recovery                       2.00        $720.00
               TOTAL                          2.00        $720.00


  II.   Guerra King P.A.

        The Receiver requests the Court award GK fees for professional

  services rendered and costs incurred from April 1, 2021 through June 30,

  2021, in the amounts of $91,955.50 and $3,579.02, respectively.        As an

  accommodation to the Receiver and to conserve the resources of the



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  Receivership Estate, GK’s attorneys and paralegals have agreed to reduce

  their standard rates as provided in the fee schedule attached as Exhibit 5. As

  shown in the fee schedule, GK agreed to limit its partner rates, which

  typically range from $315 to $475, to $350 per hour and its associate rates,

  which range from $235 to $290, to $240 per hour. Ex. 5. GK began providing

  services immediately upon the appointment of the Receiver. The activities of

  GK for the time covered by this Application are set forth in the Quarterly

  Status Report. See Doc. 352. GK has billed time for these activities in

  accordance with the Billing Instructions.

        A.    The Receivership.

        As discussed above, the work of the Receiver and GK focused on

  investigating the fraud and related activities, locating and taking control of

  Receivership assets, investigating and pursuing additional assets for the

  Receivership, and analyzing investor information for the claims process and

  litigation. A copy of the statement summarizing the services rendered and

  costs incurred by GK from April 1, 2021 through June 30, 2021, is attached

  as Exhibit 6. GK’s time and fees for services rendered on this matter for each

  Activity Category are as follows:




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                              Receivership
                 GK’s Time and Fees for Services Rendered

                                            Hours
                  Activity Category        Expended Fee Amount
                Asset Disposition             119.30 $22,815.00
                Asset Analysis and
                Recovery                           136.30      $27,304.50
                Business Operations                 89.40      $15,691.50
                Case Administration                 91.30      $12,451.50
                Claims Administration               47.60      $11,424.00
                TOTAL                              483.90      $89,686.50


  A summary of the professionals’ hours rendered during the time covered by

  this Application is set forth below.

                                        Yrs. Billed
  Professional                Position Exp. Hours                 Rate        Total
  Maya Lockwood (MML)        Of Counsel  21   25.70              $240.00     $6,168.00
  Max McKinley (RMM)          Associate        5      206.30     $240.00    $49,512.00
  Jeffrey Rizzo (JR)          Paralegal               137.60     $135.00    $18,576.00
  Amanda Stephens (AS)        Paralegal               114.30     $135.00    $15,430.50
  Fees                                                                      $89,686.50
  Disbursements                                                              $3,579.02
  Total                                               506.70                $93,265.52


        In addition to legal fees, GK has advanced costs of $3,579.02 as

  summarized below.

                          Costs                     Total
                          Photocopies                $61.95
                          Telephone                  $10.09
                          Online Research            $50.20
                          Delivery
                          Services                   $191.58
                          Court Fees                  $26.00


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                           Subpoena Fees        $539.20
                           Web-Related         $2,700.00
                           Total               $3,579.02

        B.    Discrete Projects.

        In conjunction with the Receivership, the following two discrete

  projects have been formally commenced by the Receiver.

              1.      Recovery of False Profits from Investors.

        As discussed above in Section I.B.1, this is a project involving the

  Receiver’s efforts to recover false profits from investors whose purported

  accounts received monies in an amount that exceeded their investments. (See

  also Doc. 352 at 28.) These purported profits were false because they were not

  based on any trading or investment gain, but rather were fruits of a Ponzi

  scheme that consisted of funds of new and existing investors. A copy of the

  statement summarizing the services rendered and costs incurred by GK from

  April 1, 2021 through June 30, 2021 for this project is attached as Exhibit 7.

  GK’s time and fees for services rendered for each Activity Category are as

  follows:

                           Recovery from Investors
                   GK’s Time and Fees for Services Rendered

                                            Hours
                     Activity Category     Expended   Fee Amount
                   Asset Analysis and
                   Recovery                   12.80    $1,919.50
                   TOTAL                      12.80    $1,919.50




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  A summary of the professionals’ hours rendered during the time covered by

  this Application is set forth below.

                                           Yrs. Billed
  Professional                Position     Exp. Hours         Rate     Total
  Jared J. Perez (JJP)        Partner       15      .50      $350.00    $175.00
  Max McKinley (RMM)          Associate        5       .80   $240.00    $192.00
  Jeffrey Rizzo (JR)          Paralegal                .40   $135.00      $54.00
  Amanda Stephens (AS)        Paralegal              11.10   $135.00   $1,498.50
  Fees                                                                 $1,919.50
  Disbursements                                                             $.00
  Total                                              12.80             $1,919.50

              2.      Clawback Litigation Against Non-Investors.

        As discussed above in Section I.B.2, this is a project involving the

  Receiver’s clawback litigation against former principals and employees of

  EquiAlt and sales agents who received commissions for the sale of EquiAlt

  debentures. (See also Doc. 352 at 29.) A copy of the statement summarizing

  the services rendered and costs incurred by GK from April 1, 2021 through

  June 30, 2021 for this project is attached as Exhibit 8. GK’s time and fees for

  services rendered for each Activity Category are as follows:

                   Clawback Litigation Against Non-Investors
                   GK’s Time and Fees for Services Rendered

                                           Hours
                     Activity Category    Expended        Fee Amount
                   Asset Analysis and
                   Recovery                        1.50      $349.50
                   TOTAL                           1.50      $349.50




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  A summary of the professionals’ hours rendered during the time covered by

  this Application is set forth below.

                                           Yrs. Billed
  Professional                Position     Exp. Hours      Rate       Total
  Max McKinley (RMM)          Associate     5     1.40    $240.00      $336.00
  Jeffrey Rizzo (JR)          Paralegal             .10   $135.00       $13.50
  Fees                                                                 $349.50
  Disbursements                                                          $0.00
  Total                                            1.50                $349.50


  III.   Johnson Cassidy Newlon & DeCort.

         The Receiver requests the Court award JCND fees for professional

  services rendered and costs incurred from April 1, 2021 through June 30,

  2021, in the amounts of $89,554.00 and $10,167.50, respectively. As an

  accommodation to the Receiver and to conserve the resources of the

  Receivership Estate, JCND’s attorneys and paralegals have agreed to follow

  the reduced rates provided in the GK fee schedule. Ex. 5. JCND began

  providing services on March 15, 2021. The activities of JCND for the time

  covered by this Application are set forth in the Quarterly Status Report. See

  Doc. 352. JCND has billed time for these activities in accordance with the

  Billing Instructions.

         A.   The Receivership.

         JCND assisted the Receiver with the work of investigating the fraud

  and related activities, locating and taking control of Receivership assets,



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  investigating and pursuing additional assets for the Receivership, and

  analyzing investor information for the claims process and litigation. A copy of

  the statement summarizing the services rendered and costs incurred by

  JCND from April 1, 2021 through June 30, 2021, is attached as Exhibit 9.

  JCND’s time and fees for services rendered on this matter for each Activity

  Category are as follows:

                              Receivership
                JCND’s Time and Fees for Services Rendered

                                           Hours
                   Activity Category      Expended Fee Amount
                Asset Disposition             27.60  $9,165.50
                Asset Analysis and
                Recovery                        79.00    $26,575.00
                Business Operations              4.70     $1,645.00
                Case Administration             13.50     $3,972.50
                Claims Administration           33.50     $7,769.00
                TOTAL                          158.30    $49,127.00


  A summary of the professionals’ hours rendered during the time covered by

  this Application is set forth below.

                                         Yrs. Billed
      Professional           Position    Exp. Hours       Rate        Total
      Katherine Donlon
      (KCD)                   Partner     25    129.10   $350.00   $45,185.00
      Mary Gura (MG)         Paralegal           29.20   $135.00    $3,942.00
      Fees                                                         $49,127.00
      Disbursements                                                   $394.50
      Total                                     158.30             $49,521.50




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        In addition to legal fees, JCND advanced costs of $394.50 for the

  publication of notices for the sale of real estate.

        B.    Discrete Projects.

        In conjunction with the Receivership, the following two discrete

  projects have been formally commenced by the Receiver.

              1.      Recovery of False Profits from Investors.

        As discussed above, this is a project involving the Receiver’s efforts to

  recover false profits from investors whose purported accounts received

  monies in an amount that exceeded their investments. (See also Doc. 352 at

  28.) A copy of the statement summarizing the services rendered and costs

  incurred by JCND from April 1, 2021 through June 30, 2021 for this project is

  attached as Exhibit 10. JCND’s time and fees for services rendered for each

  Activity Category are as follows:

                         Recovery from Investors
                JCND’s Time and Fees for Services Rendered

                                             Hours
                     Activity Category      Expended    Fee Amount
                   Asset Analysis and
                   Recovery                    149.80   $35,187.00
                   TOTAL                       149.80   $35,187.00


  A summary of the professionals’ hours rendered during the time covered by

  this Application is set forth below.




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                                       Yrs. Billed
      Professional        Position     Exp. Hours        Rate       Total
      Katherine
      Donlon (KCD)         Partner      25     69.60    $350.00   $24,360.00
      Mary Gura (MG)      Paralegal            80.20    $135.00   $10,827.00
      Fees                                                        $35,187.00
      Disbursements                                                $9,325.59
      Total                                   149.80              $44,512.59


        In addition to legal fees, JCND has advanced costs of $9,325.59 as

  summarized below.

                         Costs                  Total
                         Photocopies           $1,708.00
                         Postage                  $41.25
                         Online Research         $134.19
                         Service of Process    $7,442.15
                         Total                 $9,325.59



              2.    Clawback Litigation Against Non-Investors.

        As discussed above, this is a project involving the Receiver’s clawback

  litigation against former principals and employees of EquiAlt and sales

  agents who received commissions for the sale of EquiAlt debentures. (See also

  Doc. 352 at 29.) A copy of the statement summarizing the services rendered

  and costs incurred by JCND from April 1, 2021 through June 30, 2021 for

  this project is attached as Exhibit 11. JCND’s time and fees for services

  rendered for each Activity Category are as follows:




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                 Clawback Litigation Against Non-Investors
                JCND’s Time and Fees for Services Rendered

                                           Hours
                   Activity Category      Expended      Fee Amount
                 Asset Analysis and
                 Recovery                       20.50     $5,240.00
                 TOTAL                          20.50     $5,240.00


  A summary of the professionals’ hours rendered during the time covered by

  this Application is set forth below.

                                         Yrs. Billed
        Professional         Position    Exp. Hours          Rate      Total
        Katherine Donlon
        (KCD)                 Partner      25     11.50   $350.00     $4,025.00
        Mary Gura (MG)       Paralegal             9.00   $135.00     $1,215.00
        Fees                                                          $5,240.00
        Disbursements                                                   $447.41
        Total                                     20.50               $5,687.41


         In addition to legal fees, JCND has advanced costs of $447.41 as

  summarized below.

                           Costs                  Total
                           Online Research          $29.21
                           Service of Process      $418.20
                           Total                   $447.41


  IV.    Yip Associates.

         The Receiver requests the Court award Yip fees for professional

  services rendered and costs incurred from April 1, 2021 through June 31,

  2021, in the amount of $52,283.00. Yip is a forensic accounting firm that


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  specializes   in   insolvency   and   restructuring,   Ponzi   schemes,   fraud

  investigations, insolvency taxation, business valuation, and litigation

  support. The firm is a leading boutique forensic accounting firm serving

  clients throughout the United States and abroad. Maria Yip, who founded the

  firm in 2008, has 27 years of experience in public and forensic accounting.

  Yip has been instrumental to the Receiver in investigating and analyzing the

  financial status of the Receivership Entities and the investment scheme at

  issue in this case. Additionally, Yip provides invaluable resources on the

  tracing of investor proceeds to various assets and properties. Further, Yip has

  substantially completed the process of gathering the investors’ investments

  and distributions for the claims process.

        Ms. Yip is a partner in her firm and bills at $495 per hour. Director Hal

  Levenberg, Manager Christopher Cropley, and Associate Renee Johnson

  continue to work diligently on this matter. Mr. Levenberg has 13 years of

  experience and has taken over Danny Zamorano’s role in this case. Mr.

  Levenberg’s billing rate is $300, but he did not charge any fees for 7.5 hours

  he spent continuing to get up to speed on this matter and transitioning the

  work. Mr. Cropley has 12 years of experience and a billing rate of $300 and

  Ms. Johnson has nine years of experience and a billing rate is $195. Mr.

  Zamorano worked on this matter in April. Mr. Zamorano has five years of

  experience and a billing rate of $245. He did not charge any fees for 4 hours


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  of time he spent assisting Mr. Levenberg with the transition of this matter

  before his departure. Senior Associate Susan Tai and Associate Pamela Chuy

  also worked on this matter during this period. Ms. Tai has 7 years of

  experience and a billing rate of $245.00 and Ms. Chuy has 10 years of

  experience and a billing rate of $195. Copies of the statements summarizing

  the services rendered and costs incurred for the pertinent period are attached

  as composite Exhibit 12. A summary of the professionals’ hours rendered

  during the time covered by this Application is set forth below.

           Yip Associates Time and Fees for Services Rendered

                                           Yrs
    Professional              Position     Exp. Hours Rate             Total
    Maria Yip (MMY)           Partner       27    2.10 $495.00        $1,039.50
    Hal A. Levenberg
    (HAL)                     Director         13    66.80 $300.00   $20,040.00
    Hal A. Levenberg
    (HAL)                     Director         13     7.50 $300.00        $0.00
    Christopher M. Cropley
    (CMC)                     Manager          12    37.30 $300.00   $11,190.00
    Christopher M. Cropley
    (CMC)                     Manager          12     1.00 $300.00        $0.00
    Danny D. Zamorano          Senior
    (DDZ)                     Associate        5     70.30 $245.00   $17,223.50
    Danny D. Zamorano          Senior
    (DDZ)                     Associate        5      4.00 $245.00        $0.00
                               Senior
    Susan Tai                 Associate        7       1.2 $245.00      $294.00
    Pamela Chuy (PC)          Associate        10    12.80 $195.00    $2,496.00
    Fees                                                             $52,283.00
    Disbursements                                                         $0.00
    Total                                           203.00           $52,283.00




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        Yip continues to aid the Receiver’s team in preparing for the upcoming

  claims process. Their work in this regard will continue after the claim bar

  date as the Receiver and his team review the submitted claims. Additionally,

  the team at Yip has aided the legal team regarding backup information for

  the clawback claims against both investors and sales agents. Finally, Yip was

  retained as an expert in the Receiver’s case against Paul Wassgren, DLA

  Piper and Fox Rothschild. Certain of the time entries are related to those

  activities and will continue in the future as that case progresses. For the

  Court’s convenience, below is a summary of the work provided by Yip during

  this billing period:

                                  April 2021

     • Continued preparation of Investor Analysis (Summary of Net Loser
       Investments), including compilation and review of investor information,
       investment terms and investment history, and reconciliation of
       information obtained to bank activity of the Funds. Records reviewed
       and analyzed include:
          o Investor files maintained by EquiAlt personnel;
          o Investor website;
          o Monthly distribution lists maintained by EquiAlt personnel;
          o Files produced by IRA account trustees (e.g. Provident Trust
             Group, Vantage Retirement Plans, GoldStar Trust Company, IRA
             Services Trust, etc.); and
          o Accounting records and bank records.
     • Continued tracing and analysis of potential assets of B. Rybicki;
     • Investigated claim discrepancies raised by select investors, the
       investigation included but was not limited to:
          o Research into retirement account activity for the relevant plan
             administrators;



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            o Inquiries including conference calls with representatives from the
              plan administrators; and
            o Tracing of investor deposits and disbursements.
                                     May 2021

       • Continued investigation of claim discrepancies raised by investors,
         including:
            o Tracing of investor deposits and disbursements;
            o Research into retirement account activity for the relevant plan
               administrators;
            o Research of whether payments were made to the IRS on behalf of
               investors; and
            o Calculation of final claim amount.
       • Continued tracing of potential assets for B. Rybicki and B. Davison
         including but not limited to:
            o Brokerage accounts;
            o Accounts with Cryptocurrency exchanges;
            o PayPal accounts; and
            o Credit card accounts.
                                    June 2021

       • Researched payments to sales agents (Wellington Financial, Elite
         Benefit Group and J. Prickett Agency);
       • Assisted Receiver’s counsel with schedules needed for claims analysis;
         and
       • Continued investigation of additional claim discrepancies raised by
         investors.
  V.     PDR CPAs.

         The Receiver requests the Court award PDR fees for professional

  services rendered and costs incurred from April 1, 2021 through June 30,

  2021, in the amount of $16,473.84. PDR is an accounting firm that specializes

  in tax matters and has extensive experience with the tax treatment of

  settlement funds. PDR is assisting the Receiver with internal Receivership


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  accounting, financial reporting, and tax preparation and filing. The Court

  approved hourly billing rates for PDR’s professionals (Doc. 85). Later, at the

  request of the Court, the Receiver provided an estimate of anticipated

  monthly fees for PDR’s services – $15,000 for each of the first three months

  and $6,000 per month thereafter. The fees and costs incurred by PDR for the

  months of April and May exceeded $6,000. To comply with the agreed

  limitation, PDR reduced its fees and costs for these months by $17.64 and

  $982.59, respectively. As shown by the statements attached as composite

  Exhibit 13, the fees sought for each month during this period are below the

  limitation. A summary of the professionals’ hours rendered during the time

  covered by this Application is set forth below.

                PDR’s Time and Fees for Services Rendered

        Professional           Position Hours Rate       Total
        William E. Price (WEP) Partner   18.75 $320.00 $6,000.00
        Gail Heinold (GAH)      Senior   15.00 $155.00 $2,325.00
        Sharon O'Brien (SAO)     Staff   62.30 $125.00 $7,787.50
        Fees                                           $16,112.50
        Disbursements                                   $1,361.57
        Total                                          $17,474.07
        Reduction for total
        monthly fee limitation
        of $6,000                                       $1,000.23
        Adjusted Total                   96.05         $16,473.84




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  VI.   E-Hounds, Inc.

        The Receiver requests the Court award E-Hounds fees for professional

  services rendered and costs incurred from April 1, 2021 through June 30,

  2021, in the amount of $5,216.25. E-Hounds is a computer forensics firm that

  assists the Receiver in securing and analyzing electronic data. E-Hounds has

  been instrumental in collecting and preserving all electronic records,

  including email records, GoDaddy records, and DropBox files as well as

  computer equipment. E-Hounds continues to update and maintain its

  proprietary review platform, which the Receiver’s team is actively using.

  Copies of the statements summarizing the services rendered for the pertinent

  period are attached as composite Exhibit 14. A summary of the professionals’

  hours rendered during the time covered by this Application is set forth below.

              E-Hounds’ Time and Fees for Services Rendered

    Professional            Position          Hours       Rate        Total
    Robert Rohr (RTR)    Technician               .75     $195.00     $146.25
    Fees                                                              $146.25
    Monthly Platform
    Charges                                       6.00    $595.00   $3,570.00
    Platform
    Additional Users                             12.00    $125.00   $1,500.00
    Disbursements                                                       $0.00
    Total                                                           $5,216.25


        Receivers in other cases in the Middle District have been awarded fees

  for computer forensic services at the same rates charged by E-Hounds. See,



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  e.g., SEC v. Kinetic Investment Group, Case No. 20-cv-394-T-35SPF (motion

  at Doc. 73 and order approving at Doc. 101); CFTC v. Oasis International

  Group Limited, Case No. 19-cv-886-T-33SPF (motion at Doc. 203 and order

  approving at Doc. 207).

  VII. Freeborn & Peters LLP.

        The Receiver requests the Court award Freeborn fees for professional

  services rendered and costs incurred from April 1, 2021 through June 30,

  2021, in the amount of $1,414.50. The Court specifically appointed attorney

  Robert Stines of Freeborn & Peters LLP to aid the Receiver with technology-

  related issues that would necessarily arise with the Receivership. Mr. Stines

  has been practicing law for over ten years and is a certified IAPP U.S.-law

  privacy professional. His practice is focused on cyber law, electronic

  discovery, digital evidence, privacy and data security. He provides counsel

  and assistance to the Receiver related to EquiAlt’s websites, investor portals,

  internet and email accounts, and encrypted data on servers and laptops. Mr.

  Stines works with E-Hounds to segregate and review potentially privileged

  data prior to allowing access to the Receiver’s attorneys. Copies of the

  statements summarizing the services rendered for the pertinent period are

  attached as composite Exhibit 15. A summary of the professional’s hours

  rendered during the time covered by this Application is set forth below.




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              Freeborn’s Time and Fees for Services Rendered

                                       Yrs
         Professional      Position    Exp. Hours Rate       Total
         Robert Stines     Partner      10    4.10 $345.00 $1,414.50
         Total                                4.10         $1,414.50


  VIII. Baskin PLC.

         The Receiver requests the Court award Baskin fees for professional

  services rendered and costs incurred from April 1, 2021 through June 30,

  2021, in the amount of $2,086.54. EquiAlt’s main office is located in Tampa,

  but individual Defendant Barry Rybicki ran part of the EquiAlt operations in

  Phoenix from both his home and an executive office space. Recognizing this,

  the Court approved the retention of Arizona counsel and investigators as the

  Receiver deemed necessary. The Receiver hired Baskin as local counsel to aid

  him with issues in Arizona related to Defendant Rybicki and other employees

  and sales agents located in Arizona, including the initial takedown of those

  offices.

         Mr. Baskin has been practicing law for 30 years and is a former Senior

  Counsel at the Securities Division of the Arizona Corporation Commission

  and also worked for the Arizona Attorney’ General’s Office prosecuting

  securities and white-collar cases. A copy of the statement summarizing the

  services rendered and costs incurred for the pertinent period is attached as




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  Exhibit 16. A summary of the professional’s hours rendered during the time

  covered by this Application is set forth below.

               Baskin’s Time and Fees for Services Rendered

                                     Yrs
        Professional        Position Exp       Hours      Rate     Total
        Mladen Milovic
        (MZM)               Associate    1          5.90 $225.00 $1,327.50
        Cristina
        McDonald            Paralegal               3.50 $125.00  $437.50
        Total                                       9.40         $1,765.00


  IX.   Omni Agent Solutions.

        The Receiver requests the Court award Omni fees for professional

  services rendered and costs incurred from April 1, 2021 through June 30,

  2021, in the amount of $10,165.00. Omni is an information management

  company that provides administrative services and technology solutions to

  simplify claims administration. The Receiver retained Omni to assist with

  the logistical aspects of the claims process, including mailing, determining

  more accurate addresses if any mail is returned, addressing clerical

  deficiencies, assisting with data entry of information on returned Proof of

  Claim Forms, and processing eventual distributions. Omni is also providing

  the Receivership with an online platform for claimants to submit claims

  electronically or upload their claims. Omni has been providing these types of

  services to receivers and bankruptcy trustees for many years and has been



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  approved for these services in courts throughout the county. The Receiver

  sought the Court’s approval of Omni’s retention in the motion to initiate the

  claims process (Doc. 335). Material related to Omni’s background and the

  retention agreement, which included Omni’s billing rates and costs, was

  submitted to the Court with this motion. See Doc. 335, Exhibits 4

  (background information) and 5 (retention agreement). In its July 8, 2021

  Order, the Court specifically authorized the Receiver to retain Omni as set

  forth in Exhibit 5 to the motion. Doc. 347. Omni began providing services to

  the Receivership on June 1, 2021 and has billed in accordance with the

  approved rates.

        A copy of the statement summarizing the services rendered and costs

  incurred for the pertinent period is attached as Exhibit 17. A summary of the

  professional’s hours rendered during the time covered by this Application is

  set forth below.

                 Omni’s Time and Fees for Services Rendered

                                               Yrs
   Professional           Position             Exp   Hours   Rate      Total
                     President and CEO/
   Brian Osborne      Senior Consultant        33      2.40 $200.00    $480.00
                        Executive Vice
                       President/Senior
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   Paul Deutch           Consultant                    2.50 $200.00    $500.00

                      Senior Application
   Paul Story        Architect/Technology      17     72.00 $135.00   $9,720.00


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   Total                                              76.90             $10,700.00
   Discount (5%)                                                           $535.00
   Adjusted Total                                                       $10,165.00


                            MEMORANDUM OF LAW

        It is well settled that this Court has the power to appoint a receiver and

  to award the receiver and those appointed by him fees and costs for their

  services. See, e.g., S.E.C. v. Elliott, 953 F.2d 1560 (11th Cir. 1992) (receiver is

  entitled to compensation for faithful performance of his duties); Donovan v.

  Robbins, 588 F. Supp. 1268, 1272 (N.D. Ill. 1984) (“[T]he receiver diligently

  and successfully discharged the responsibilities placed upon him by the Court

  and is entitled to reasonable compensation for his efforts.”); S.E.C. v.

  Custable, 1995 WL 117935 (N.D. Ill. Mar. 15, 1995) (receiver is entitled to

  fees where work was of high quality and fees were reasonable); S.E.C. v.

  Mobley, 1317RCC, 2000 WL 1702024 (S.D.N.Y. Nov. 13, 2000) (court awarded

  reasonable fees for the receiver and his professionals); see also Doc. 11 ¶ 16.

  The determination of fees to be awarded is largely within the discretion of the

  trial court. See Monaghan v. Hill, 140 F.2d 31, 34 (9th Cir. 1944). In

  determining reasonable compensation for the services rendered by the

  Receiver and his Professionals, the Court should consider the circumstances

  surrounding the Receivership. See Elliot, 953 F.2d at 1577.




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        In determining the reasonableness of fees, the Court must calculate the

  lodestar, which is the “number of hours reasonably expended on the litigation

  multiplied by a reasonable hourly rate.” Hensley v. Eckerhart, 461 U.S. 424,

  433 (1983). This is in part based on the nature and extent of the services

  rendered and the value of those services. See Grant v. George Schumann Tire

  & Battery Co., 908 F.2d 874, 877-78 (11th Cir. 1990) (bankruptcy fee award

  case addressing the issue of attorney’s fees generally before considering

  specific requirements in the bankruptcy context). Additionally, the Court

  should consider the twelve factors set forth in Johnson v. Georgia Highway

  Express, Inc., 488 F.2d 714 (5th Cir. 1974), a case involving an award of

  attorneys’ fees under federal civil rights statutes, as incorporated by the

  Eleventh Circuit in Grant, a bankruptcy case, are as follows: (1) the time and

  labor required; (2) the novelty and difficulty of the questions presented; (3)

  the skill required to perform the legal services properly; (4) the preclusion of

  other employment by the attorney due to acceptance of the case; (5) the

  customary fee for similar work in the community; (6) whether the fee is fixed

  or contingent; (7) time limitations imposed by the client or by the

  circumstances; (8) the amount involved and results obtained; (9) the

  experience, reputation, and ability of the attorney; (10) the undesirability of

  the case; (11) the nature and length of the professional relationship with the

  client; and (12) awards in similar cases. Based on the information provided


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  herein as well as the Receiver’s Sixth Quarterly Status Report, the Receiver

  believes that the Court when considering these factors and the work

  accomplished during this quarter of the Receivership will determine that the

  Receiver’s motion for fees is reasonable and should be granted.

        A receiver and the team he or she assembles is entitled to reasonable

  compensation and courts have looked at several factors in determining

  reasonableness: (1) the results achieved by the receiver; (2) the ability,

  reputation and other professional qualities of the receiver; (3) the size of the

  estate and its ability to afford the expenses and fees; and (4) the time

  required to conclude the receivership. SEC v. W.L. Moody & Co, 374 F. Supp.

  465, 480-484 (S.D. Tex. 1974). In this case, the Receiver has continued his

  duties, investigating, locating, preserving and/or liquidating assets for the

  benefit of defrauded investors while also continuing to operate the

  Receivership Entities. This case involves over 1100 investors and over $170

  million in investments. The Receiver is responsible for the active

  management of over 300 properties, the assessment of pending construction

  and maintenance projects, as well as supervising employees and property

  managers.

        Finally, the Receiver has sought to keep the EquiAlt investors up to

  date regarding the Court’s progress through the Receivership website,

  allowing investors to register for information related to this matter. The


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  Receiver and designated paralegals at GK and JCND also field telephone

  calls from investors and sales agents regarding the allegations in this case

  and the underlying investments.

        Here, because of the nature of this case, it is necessary for the Receiver

  to employ attorneys and accountants experienced and familiar with financial

  frauds, federal receiverships, securities, banking, and finance. Further, to

  perform the services required and achieve the results obtained to date, the

  skills and experience of the Receiver and the Professionals in the areas of

  fraud,   securities,   computer   and   accounting   forensics,   and   financial

  transactions are indispensable.

        As discussed above, the Receiver, GK, and JCND have discounted their

  normal and customary rates as an accommodation to the Receivership and to

  conserve Receivership assets. The rates charged by the attorneys and

  paralegals are at or below those charged by attorneys and paralegals of

  comparable skill from other law firms in the Middle District of Florida and

  have been found reasonable by this Court in granting the Receiver’s previous

  Applications for Fees. This case has been time-intensive for the Receiver and

  his Professionals because of the need to resolve many issues rapidly and

  efficiently. The attached Exhibits detail the time, nature, and extent of the

  professional services rendered by the Receiver and his Professionals for the

  benefit of investors, creditors, and other interested parties. The Receiver


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  anticipates that additional funds will be obtained through the Receiver’s

  negotiations or litigation with third parties.

        Although the SEC investigated and filed the initial pleadings in this

  case, as directed by the Order Appointing Receiver (see, e.g., Doc. 11 ¶¶ 2, 4),

  the Receiver is now involved with the investigation and forensic analysis of

  the events leading to the commencement of the pending action, the efforts to

  locate and gather investors’ money, the determination of investor and other

  creditor claims and any ultimate payment of these claims. While the Receiver

  is sensitive to the need to conserve the Receivership Entities’ assets, he

  believes the fees and costs expended to date were reasonable, necessary, and

  benefited the Receivership. Notably, the Commission has no objection to the

  relief sought in this motion. S.E.C. v. Byers, 590 F. Supp. 2d 637 (S.D.N.Y.

  2008) (quoting S.E.C. v. Fifth Ave. Coach Lines, Inc., 364 F.Supp. 1220, 1222

  (S.D.N.Y.1973) (“[I]n a securities receivership, ‘[o]pposition or acquiescence

  by the SEC to the fee application will be given great weight.’”).


                                  CONCLUSION

        Under the Order Appointing Receiver, the Receiver, among other

  things, is authorized and empowered to engage professionals to assist him in

  carrying out his duties and obligations. The Order Appointing Receiver

  further provides that he apply to the Court for authority to pay himself and



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  his Professionals for services rendered and costs incurred. In exercising his

  duties, the Receiver has determined that the services rendered and their

  attendant fees and costs were reasonable, necessary, advisable, and in the

  best interests of the Receivership.

        WHEREFORE, Burton W. Wiand, the Court-appointed Receiver,

  respectfully requests that this Court award the following sums and direct

  that payment be made from the Receivership assets:

            Burton W. Wiand, Receiver                       $68,436.00
            Guerra King P.A.                                $95,534.52
            Johnson, Cassidy, Newlon & DeCort               $99,721.50
            Yip Associates                                  $52,283.00
            PDR CPAs                                        $16,473.84
            E-Hounds, Inc.                                   $5,216.25
            Baskin Richards PLC                              $2,086.54
            Freeborn & Peters LLP                            $1,414.50
            Omni Agent Solutions                            $10,165.00


                   LOCAL RULE 3.01(g) CERTIFICATION

        Undersigned counsel for the Receiver has conferred with counsel and

  the SEC does not oppose the relief requested in this motion and counsel for

  Mr. Rybicki does not take a position as to the relief sought. Mr. Davison has

  not yet stated whether he objects to this motion; however, in the past, he has

  not taken a position on the Receiver’s last several motions for fees.




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                       RECEIVER’S CERTIFICATION

        The Receiver has reviewed this Sixth Quarterly Fee Application for

  Order Awarding Fees, Costs, and Reimbursement of Costs to Receiver and

  His Professionals (the “Application”).

        To the best of the Receiver’s knowledge, information, and belief formed

  after reasonable inquiry, the Application and all fees and expenses herein are

  true and accurate and comply with the Billing Instructions provided to the

  Receiver by the Securities and Exchange Commission.

        All fees contained in the Application are based on the rates listed in the

  fee schedule, attached as Exhibit 5. Such fees are reasonable, necessary, and

  commensurate with (if not below the hourly rate that is commensurate with)

  the skill and experience required for the activity performed.

        The Receiver has not included in the amount for which reimbursement

  is sought the amortization of the cost of any investment, equipment, or

  capital outlay (except to the extent that any such amortization is included

  within the permitted allowable amounts set forth in the Billing Instructions

  for photocopies and facsimile transmission).

        To the extent the Receiver seeks reimbursement for any service which

  the Receiver justifiably purchased or contracted for from a third party (such

  as copying, imaging, bulk mail, messenger service, overnight courier,

  computerized research, or title and lien searches), the Receiver has requested


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  reimbursement only for the amount billed to the Receiver by the third-party

  vendor and/or paid by the Receiver to such vendor. The Receiver is not

  making a profit on such reimbursable services.

        The Receiver believes that the fees and expenses included in this

  Application were incurred in the best interests of the Receivership Estate.

  With the exception of the Billing Instructions and the Court-approved

  engagements described above, the Receiver has not entered into any

  agreement, written or oral, express or implied, with any person or entity

  concerning the amount of compensation paid or to be paid from the

  Receivership Estate, or any sharing thereof.

                                     s/Burton W. Wiand
                                     Burton W. Wiand, as Receiver




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                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 27, 2021, I electronically filed a

  true and correct copy of the foregoing with the Clerk of the Court through the

  CM/ECF system, which served counsel of record.


                                      /s/ Katherine C. Donlon
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